     Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 1 of 35




                  UNITED STATES DISTRICT COIIRT
                MIDDLE DISTRICT OF PENNSYLVANIA

UMTED STATES OFAMERICA                  Dkt. No. 1:24-CR-00096

           v.                           (Wilson, J.)

DURANTE KTNG-McCLEAN,                   (electronically frled)
                 Defendant

                          PLEAAGREEMENT

     The following Plea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania

A. Violation(s), Penalties, and Dismissal of Other Counts

    1. PIea of Guiltv. The defendant a grees to plead guilty to Count 1
       of the Indictment which charges the defendant with a violation

       of Title 18, United States Code, $ gSS(a)(1) and(3), (conspiracy

       to traffick in firearms). The maximum penalty for that offense

       is imprisonment for a period of 15 years, a fine of 9250,000.00, a

       maximum term of supervised release of 3 years, to be

       determined by the Court, which shall be served at the
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 2 of 35




   conclusion of and in addition to any term of imprisonment, the

   costs ofprosecution, denial ofcertain federal benefits, and an

  assessment in the amount of 9100.00. At the time the guilty

  plea is entered, the defendant shall admit to the Court that the

  defendant is, in fact, guilty ofthe offense(s) charged in Count 1

  of the Indictment. The defendant agrees that the United States

  may, at its sole election, reinstate any dismissed charges or seek

  additional charges in the event that any guilty plea entered or

  sentence imposed pursuant to this Agreement is subsequently

  vacated, set aside, or invalidated by any Court. The defendant

  further agrees to waive any defenses to reinstatement ofthose

  charges, or the filing ofadditional charges, based upon laches,

  the assertion ofspeedy trial rights, any applicable statute of

  limitations, or any other ground. The calculation of time under

  the Speedy Trial Act for when trial must commence is tolled as

  of the date of the defendant's signing of this Agreement, until

  either (d the defendant pleads guiltyi or (b) a new date is set by

  the Court for commencement of trial-
                               2
 Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 3 of 35




2. Venue Waiver. The defendant agrees to knowingly waive the
    right to challenge venue over the charged offense in the United

    states District courr for the Middle District of pennsylvania.

3. Term ofSu pervise d Release . The defendant understands that
    the Court may impose a term of supervised release following

    any sentence of imprisonment exceeding one year, or when

   required by statute. Thc Court may require a term of

   supervised release in any other case. In addition, the defendant,

   understands that as a condition of any term of supervised

   release or probation, the Court must order that the defendant

   cooperate in the collection of a DNA sample if the collection of a

   sample is so authorized by 1aw.

4. No Further Prosecution. Excep t Tax Charecs . The United
   states Attorney's office for the Middle District of pennsylvania

   agrees that it will not bring any other criminal charges against

   the defendant directly arising out ofthe defendant,s

   involvement in the offense(s) described above. However,
        Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 4 of 35




          nothing in this Agreement will limit prosecution for criminal tax

          charges, if any, arising out of those offenses.

B. Fines and Assessments
   i)     Fine. The defendant understands that the Court may impose a

          fine pursuant to the Sentencing Reform Act of 1984. The willful

          failure to pay any fine imposed by the Court, in full, may be

          considered a breach of this PIea Agreement. tr'urther, the

          defendant acknowledges that willful failure to pay the fine may

          subject. the defendant to additional criminal violations and civil

          penalties pursuant to Title 18, United States Code, $ 3611, et

          seq.

   6. Alternative Fine. The defendant understands that under the
          alternative fine section of Titie 18, United States Code, $ 3521,

          the maximum fine quoted above may be increased if the Court

          finds that any person derived pecuniary gain or sulfered

          pecuniary loss from the offense and that the maximum fine to

          be imposed, if the Court elects to proceed in this fashion. could



                                       4
 Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 5 of 35




    be twice the amount of the gross gain or twice the amount of the

    gross loss resulting from the offense

7. Inmate Fin ancial Res ponsi bili ty Pro   am    Ifthe Court orders a
    fine or restitution as part ofthe defendant,s sentence, and the

    sentence includes a term of imprisonment, the defendant agrees

    to voluntarily enter the United States Bureau of prisons-

    administered program known as the Inmate Financial

    Responsibility Program, through which the Bureau of prisons

    will col.lect up to 50% of the defendant,s prison salary, and up to

    5O% of the balance of the defendant,s inmate account,
                                                              and apply

   that amount on the defendant's behalf to the payment of the

   outstanding fine and restitution orders.

8. Special As sessme nt . The defendant understands that the Court
   will impose a special assessment of 9100.00, pursuant to the

   provisions of Title 18, United States Code,
                                                  $ 8018. No later

   than the date ofsentencing, the defendant or defendant,s

   counsel shall mail a check in payment, of the special assessment

   directly to the Clerk, United States District Court, Middle
                                5
 Case 1:24-cr-00096-JPW     Document 53   Filed 04/11/25   Page 6 of 35




    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated as a breach of

    this Plea Agreement and may result in further prosecution, the

    filing of additional criminal charges, or a contempt citation.

9. If the defendant is convicted of a human trafficking, sex
    trafficking, or child pornography/child sexual exploitation

    offense, and if the Court finds the defendant is not indigent, an

    additional special assessment of g5,000 wilt be imposed,

    pursuant ro Title 18 U.S.C. g 301a(a).

10. Collection of Finan cial Oblieations. In order to facilitate the

   collection of financial obligations imposed in connection with

   this case, the defendant consents and agrees:

   a. to fully disclose all assets in which the defendant has an
       interest or over which the defendant has control, directly or

       indirectly, including those held by a spouse, nominee, or

       other third partyi

   b. to submit to interviews by the Government regard.ing the
       defendant's financial statusi
                                  t)
     Case 1:24-cr-00096-JPW     Document 53   Filed 04/11/25   Page 7 of 35




        C   to submit a complete, accurate, and truthful financial

            statement, on the form provided by the Government, to the

            United States Attorney's Office no Iater than 14 days

            following entry of the guilty pieai

       d. whether represented by counsel or not, to consent to contact
            by and communication with the Government. and to waive

            any prohibition against communication with a represented

            parly by the Government regarding the defendant's

            financial statusi

       e    to authorize the Government to obtain the defendant's

            credit reports in order to evaluate the defendant's ability to

            satisfy any financial obligations imposed by the Courti and

       f. to submit any financial information requested by the
            Probation Office as directed, and to the sharing of financial

            information between the Government and the probation

            Office.

C. Se ntenclng    uidelines Calculation



                                      7
 Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 8 of 35




I 1. Determination of Sentencin e Guidelines. The defendant and

    counsel for both parties agree that the llnited Staies Sentencing

    Commission Guidelines, which took effect on November 1, 1gg7,

    and its amendments (the "sentencing Guidelines"), will apply to

    the offense or offenses to which the defendant is pleading guilty.

   The defendant understands that the Sentencing Guidelines are

    advisory and not binding on the Court. The defendant further

   agrees that any legal and factual issues relating to the

   application of the Sentencing Guidelines to the defendant's

   conduct, including facts to support any specific offensc

   characteristic or other enhancemcnt or adjustment and the

   appropriate sentence within the statutory maximums provided

   for by law, wiLl be determined by the Court after briefing, a pre-

   sentence hearing, or a sentencing hearing.

12. Acceptance of Responsibilitv- Tw o/Three Levels. If thc

   defendant can adequately demonstrate recognition and

   affirmative acceptance of responsibility to the Government as

   rcquired by the Sentencing Guideiines, the Government will
                                8
    Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 9 of 35




       recommend that the defendant receive a two- or three-level

       reduction in the defendant's offense level for acceptance of

      responsibility. The third level, if applicable, shall be within the

      discretion of the Government under U.S.S.G. $ 3E1.1. The

      failure ofthe Court to find that the defendant is entitled to a

      reduction shall not be a basis to void this Agreement.

D. Sentencing Recommendation
   13. Appropriate Sentcnce Re commendatio n. At the time of

      sentencing, the United States may make a recommendation

      that it considers appropriate based upon the nature and

      circumstances of the case and the defendant's participation in

      the offense, and specifically reserves the right to recommend a

      sentence up to and including the maximum sentence of

      imprisonment and fine allowable, together with the cost of

      prosecution.

   14. Special Conditions ofProb ation/Supervised Reiease. If

      probation or a term of supervised release is ordered, the United



                                   I
Case 1:24-cr-00096-JPW    Document 53   Filed 04/11/25   Page 10 of 35




   States may recommend that the Court impose one or more

   special conditions, including but not limited to the following:

   a    The defendant be prohibited from possessing a firearm or

        other dangerous weapon.

   b. The defendant make restitution, if applicable, the payment
        of which shall be in accordance with a schedule to be

        determined by the Court.

   C    The defendant pay any fine imposed in accordance with a

        schedule to be determined by the Court.

   d. The defendant be prohibited from incurring new credit
        charges or opening additional lines ofcredit without

        approval of the Probation Office unless the defendant is in

        compliance with the payment schedule.

   e    The defendant be directed to provide the Probation Office

        and the United States Attorney access to any requested

        financial i nform ation.

   f.   The defendant be confined in a community treatment

        center, halfway house, or similar facility.
                                   10
Case 1:24-cr-00096-JPW     Document 53   Filed 04/11/25   Page 11 of 35




   c    The defendant be placed under home confinement.

   h    The defendant be ordered to perform community service.

   I    The defendant be restricted from working in certain types of

        occupations or with certain individuals, if the Government

        deems such restrictions to be appropriate

   j.   The defendant be directcd to attend substance abuse

        counseling, which may include testing to determine whether

        the defendant is using drugs or alcohol.

   k. The defendant be directed to attend psychiatric or
        psychological counseling and treatment in a program

        approved by the Probation Officer.

   I.   Thc defendant be denied certain federal benefits including

        contracts, grants, Ioans, fellowships, and licenses.

   m    The defendant be directed to pay any state or federal taxes

        and file any and all state and federal tax returns as

        required by law.

15. Forfeiture of Firearms Possesse d in Connection With the

   Offense. The United States and the defendant hereby agree
                                 11
     Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 12 of 35




        that the firearms listed in Count 1 of the Indictment, which are

        firearms as defined in 18 U.S.C., S 921, seized during the

        investigation and currently in the custody and control of the

        Pennsylvania State Police and/or the Bureau of Alcohol,

        Tobacco, Firearms and Explosives, were properly seized and

        were possessed, involved in, or used in a violation of 1g U.S.C.
                                                                             $

        922(9) to which the defendant will plead guilty. The defend.ant

        agrees that the firearm is subject to forfeiture to the United

       States pursuant to 18 U.S.C. $ 924. The defendant hereby

       relinquishes to the United States any claim, title and interest

       the defendant has in said firearm(s). fne defendant agrees to

       withdraw any claim made in any civil, ad"ministrative, or

       judicial forfeiture brought against said firearm, and further

       agrees not to oppose any civil, administrative, or judicial

       forfeiture of said firearm.

E. Victims'     hts and Restitution

   16. Victims'Riehts. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims,
                                     t2
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 13 of 35




   Rights Act, the Justice for All Act, and the regulations

   promulgated under those Acts by the Attorney General of the

   United States, crime victims have the following rights:

       The right to be reasonably protected from the accusedi

   b. The right to reasonable, accurate, and timely notice ofany
       public court proceeding or any parole proceeding involving

       the crime, or of any release or escape of the accused;

   o   The right not to be excluded from any such public court

       proceeding, unless the Court, after receiving clear and

       convincing evidence, determines that testimony by the

       victim would be altered materially if the victim heard other

       testimony at that proceedingi

   d. The right to be reasonably heard at any public hearing in
       the Court involving release, plea, sentencing, or any parole

       proceeding. The defendant understands that the victims'

       comments and recommendations at any of these proceedings

       may be different than those of the parties to this

       Agreementi
                               1.)
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Case 1:24-cr-00096-JPW     Document 53   Filed 04/11/25   Page 14 of 35




   c   The reasonable right to confer with the attorney for the

       Government in the case. The defendant understands that

       the victims' opinions and recommendations given to the

       attorney for the Government may be different than those

       presented by the United States as a consequence ofthis

       Agreementi

  f. The right to fuII and timely restitution as provided for by
       law. The attorney for the Government is required to "fully

       advocate the rights ofvictims on the issue ofrestitution

       unless such advocacy would unduly prolong or complicate

       the sentencing proceeding," and the Court is authorized to

       order restitution by the defendant including, but not limited

       to, restitution for property loss, economic loss, personal

       injury, or death;

       The right to proceedings free from unreasonable delayi and

  h. The right to be treated with fairness and with respect for
       the victim's dignity and privacy.



                                 14
    Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 15 of 35




F. Information Provided to Court and Probation Offrce
    17. Backeround Information for Probation Office. The defendant

       understands that the Unite d States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses

    18. Obiections to Pre-Sentence Report. The defendanL understands

       that pursuant to the United States District Court for the Middle

       District of Pennsylvania's "Policy for Guideline Sentencing,"

       both the United States and defendant must communicaLe to the

       Probation Officer within 14 days after disclosure of the pre-

       sentence report any objections they may have as to material

       information, sentencing classifications, applicable Sentencing

       Guidelines ranges, and policy statements contained in or

       omitted from the reporL. The defendant agrees to meet with the

       United States at least five days prior to sentencing in a good

       faith attempt to resolve any substantive differences. If any
                                    15
Case 1:24-cr-00096-JPW    Document 53   Filed 04/11/25   Page 16 of 35




     issues remain unresolved, they shall be communicated to the

     Probation Officer for inclusion in an addendum to the pre-

     sentence report. The defendant agrees that unresolved

     substantive objections wiil be decided by the Court a1ler

     briefing, a pre-sentence hearing, or at the sentencing hearing,

     where the standard or proofwill be a preponderance ofthe

     evidence, and the Federal Rules of Evidence, other than with

     respect to privileges, shall not apply under Fed. R. Evid.

     1101(d)(3), and the Court may consider any reliable evidence,

     including hearsay. Objections by the defendant to the pre-

     sentence report or the Court's rulings, will not be grounds ibr

     withdrawal of a plea of guilty.

19   Relevant Sentencine Information. At sentencin g, thc United

     States will be permitted to bring to the Court's attention, and

     the Court will be permitted to consider, all relevant information

     about the defendant's background, character and conduct,

     including the conduct that is the subject of the charges that the

     United States has agreed to dismiss, and the nature and extent
                                 16
    Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 17 of 35




       of the defendant's cooperation, if any. The United States will be

       entitled to bring to the Court's attention and the Court will be

       entitled to consider any failure by the defendant to fuJfill any

       obligation under this Agreement.

   20. Non-Limitation on Government's Re sponse. Nothing in this

       Agreement shall restrict or limit the nature or content of the

       United States' motions or responses to any motions filed on

       behalf of the defendant. Nor does this Agreement in any way

       restrict the Government in responding to any request by t,he

       Court for briefing, argument or presentation ofevidence

       regarding the application of Sentencing Guidelines to the

       defendant's conduct, including but not limited to, requests for

       information concerning possible sentencing departures.

G. Court Not Bound bv Plea Acreement
   21. Court Not Bound b y Terms. 'I'he defendant understands that

       the Court is not a party to and is not bound by this Agreement,

       or by any recommendations made by the parties. Thus, thc

       Court is free to impose upon the defendant any sentence up to
                                   t7
    Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 18 of 35




        and including the maximum sentence of imprisonment for 1b

       years, a fine of $250,000.00, a maximum term of supervised

       release of up to 3 years, which shall be served at the conclusion

       of and in addition to any term of imprisonment, the costs of

       prosecution, denial ofcertain federal benefits, and assessments

       totaling $100.00

    22. No Withdrawal of Plea B ased on Sentence o r Recommendations-

       If the Couft imposes a sentence with which the defendant is

       dissatisfied, the defendant will not be permitted to withdraw

       any guilty plea for that reason alone, nor will the defendant be

       permitted to withdraw any guilty plea should the Court decline

       to follow any recommendations by any of the parties to this

       Agreement.

H. Breach of Plea Agree ment by Defendant
   23. Breach of Agreement    In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shail, in its discretion. have

       the option ofpetitioning the Court to be relieved ofits
                                   i8
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 19 of 35




   obligations under this Agreement. Whether the defendant has

   completely fulfilled all of the obligations under this Agreement

   shall be determined by the Court in an appropriate proceeding,

   during which any disclosures and documents provided by the

   defendant shall be admissible, and during which the United

   States shall be required to establish any breach by a

   preponderance of the evidence.

24. Remedies for Breach. The de fendant and the United States

   agree that in the event the Court concludes that the defendant

   has breached the Agreement:

   a   The def'endant will not be permitted to withdraw any guilty

       plea tendered under this Agreement and agrees not to

       petition for withdrawal of any guilty pleai

   b. The United States will be free to make any
       recommendations to the Court regarding sentencing in this

       CaS€,


   o   The United States will be free to bring any other charges it

       has against the defendant, including any charges originally
                               19
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 20 of 35




       brought against the defendant or which may have been

       under investigation at the time of the plea. The defendant

       waives and hereby agrees not to raise any defense to the

       reinstatement ofthese charges based upon collateral

       estoppel, Double Jeopardy, statute of limitations, assertion

       ofSpeedy Trial rights, or other similar grounds.

25. Violation of L,aw Whilc PIea or Senten ccP            The

   defendant understands that it is a condition of this Agreement

   that the defendant refrain from any further violations of state,

   local, or federal law while awaiting plea and sentencing. The

   defendant acknowledges and agrees that ifthe Government

   receives in{brmation thal the defendant has committed ncw

   crimes while awaiting plea or sentencing in this case, the

   Government may petition Lhe Courl and, if the Court finds by a

   preponderance ofthe evidence that the defendant has

   committed any other criminal offense while awaiting plea or

   sentencing, the Government shall be free at its sole election to

   either: (a) withdraw from this Agreementi or (b) make any
                               20
    Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 21 of 35




        sentencing recommendations to the Court that it deems

        appropriate. The defendant further understands and agrees

        that, if the Court finds that the defendant has committed any

        other offense while awaiting plea or sentencing, the defendant

        will not be permitted to withdraw any guilty pleas tend.ered
        pursuant to this Agreement, and the government will be

        permitted to bring any additional charges that it may have

        against the defendant.

L Transfer oflnfo rmation to IRS
    26. Transfer of case to IRS. The defendant agrees to interpose no

       objection to the United States transferring evidence or

       providing information concerning the defendant or this offense,

       to other state and federal agencies or other organizations,

       including, but not limited to the IRS, law enforcement agencies

       and licensing and regulatory agencies.

J. Depo rtation
   27. Depo rtation/R emoval from t he United States . The defendant

       understands that, ifdefendant is not a United States citizen,
                                   o1
                                   Lt
Case 1:24-cr-00096-JPW     Document 53   Filed 04/11/25   Page 22 of 35




   deportation/removal from the United States is a consequence of

   this plea. The defendant further agrees that this matter has

   been discussed with counsel who has explained the immigration

   consequences ofthis plea. The defendant still desires to enter

   into this plea after having been so advised.

28. A       em nt to De ortation . The defendant understands that he

   will be de     rted from the United States as a result of this

   convrctron an the defendant agrees not to oppose any such

   re movaUdeporta       n proceedings or to appeal any order of

   re movaUdeportatio t1    Furthermore, the defendant agrees to

   cooperate with the Unit        tates in all proceedings and actions
                             \
   related to deportation in order to expedite deportation.

   a. Stipulation to Judicial Ord e of Removal.
        I     The defendant agrees to thb.entry ofa stipulated

              judicial order of removal pursuhnt to Title g, United

              States Code, g g t228(c)(b) and [1t92 or \2271.

              Specifically, the defendant admits that he is a native

              and citizen of Canada and that he is removable from the
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 23 of 35




           United States pursuant to Title 8, United States Code, g

           S 1325 (illegal entry).
   b. Voluntarv Waiver of Riehts.
       I        r consultation with counsel and understanding the

           le gal   nsequences ofdoing so, the defendant knowingly

           and voluhtarily waives the right to the notice and

           hearing provided for in Title 8, United States Code, $

           nZAG)e) and further waives any and all rights to

           appeal, reopen, reconsider, or otherwise challenge this

           stipulated removal order. The defendant understands

           and knowingly waives his right to a hearing before an

           immigration judge or any other authority under the

           Immigration and Nationality Act ('lNA"), on the

           question of the defendant's removability from the

           United States. The defendant further understands the

           rights the defendant would possess in a contested

           administrative proceeding and waives these rights,

           including the defendant's right to examine the eviclence
                               2.1
Case 1:24-cr-00096-JPW    Document 53    Filed 04/11/25   Page 24 of 35




            against him, to present evidence on his behaH, and to

            cross-examine the witnesses presented by the

            government.

       11   'th e efendant agrees to waive his rights to any and all

            fo IMS O f relief or protection from removal, deportation,

            or exclusion under the INA, as amended, and related

            federal regulations. These rights include, but ar.e not

            limited to, the ab ity to apply for the followin g forms of'

            relief or protection flom removal: asylumi withholding of
                                     \
            removal under Title 8, iJnited Stares Code, $ 1231(b)(B);

            any protection from removal pursuant to Article 3 of the

            United Nations Convention Against Torture, including

            withholding or deferral oI'removal under 8 C.F.R. $ 20g;

            cancellation of r.emoval; adjustment o   n\tusi registryi
            de novo review ofa denial or revocation of temporary

            protected status (current or future)i waivers under Title

            8, Unired Stares Code, gg 1182(h) or 1182(i)i visa

            petitionsi consular processingi voluntary departure or
                                24
Case 1:24-cr-00096-JPW   Document 53    Filed 04/11/25   Page 25 of 35




           any other possible relief or protection from removal

           available under the Constitution, Iaws or treaty

           obligations of the United States. As part of this

           agreement, the defendant specifically acknowledges and

           states that the defendant has not been persecuted in,

           and has no present fear of persecution in, [countryl on

           account of his race, religion, nationality, membership in

           a particular social group,     political opinion. Similarly,

           the defendant further ackno Ied ges and slales that the

           defendant has not been torture      in, and has no pre sen t

           fear oftorture in, Canada.

       iii. The defend ant hereby requests that a order be issued
           by this Court for his removal to Canada.        he defendant

           agrees to accept a written order of removal as a final

           disposition of these proceedings and waives any and ali

           rights to challenge any provision of this agreement in

           any United States or ibr.eign court or tribunal



                               25
Case 1:24-cr-00096-JPW     Document 53   Filed 04/11/25    Page 26 of 35




       iv. The defendant hereby agrees to make the judicial order
           of removal a public document, waiving his privacy

           right including his privacy rights under 8 C.F.R. S

           208.6.        t the request of the U.S. Attorney's Office,

           U.S.I mm        ation and Customs Enforcement ('iCE")

           concurs wit the government's request for a judicial

           order of remo       I. As a result ofthe above-referenced
           order, upon the       mpletion of the defendant's criminal

           proceedi ngs, includ     g any sentence of incarceration and

           any Court-imposed s LI ervision, Lhe defendant shall be

           removed to Canada.

   c. Assistance in the Execution            movaI.

       i. The defend ant agrees to assis ICE in the execution of
           hi s removal. Specifically, the de ndanL agrees to assist

           ICE in the procurement of any tra          I or other

           documents necessary for the defenda            's removal; to

           meet with and to cooperate with represe           atives of the

           country or countries to which the defendant's removal is
                                  26
Case 1:24-cr-00096-JPW      Document 53   Filed 04/11/25   Page 27 of 35




            directedi and, to execute those forms, applications, or

             aivers needed to execute or expedite the defendant's

            re   val. The defendant further understands that his

            failure r refusal to assist ICE in the execution of his

            removal s     1l breach this plea agreement and may

            subject the d     ndant to criminal penalties undcr 'Iitle

            8, United States      de, $ i253.

   d. Re-entrv and Penalties.
       i.   The def'endant concede st      t the entry ofthis judicial

            order of removal renders            crmanently inadmissible

            to the United States. He agrees        at he will not enter,

            attempt to cntcr, or transit through t         United States

            without first seeking and obtaining pe             on to do so

            from the Secretary of the Department of Homel a

            Security or other designated representative ofthe U.S.

            government.




                                  27
    Case 1:24-cr-00096-JPW   Document 53     Filed 04/11/25   Page 28 of 35




           ii. The Court' s failure, fo any reason, to enter the judicial
                order of removal, shall    ake this plea agreement, and

                the promises cont,ained he     in, null and void

K. Appeal Waiver
   29. Appeal Waiver - Direct. The defendant is aware that Title 28,

       United States Code, $ 1291 affords a defendant the right to

       appeal a judgment of conviction and sentencei and that Title 18,

       United States Code, $ 37az(il affords a defendant the right to

       appeal the sentence imposed. Acknowledging all of this, the

       defendant knowingly waives the right to appeal the conviction

       and sentence. This waiver includes any and all possible

       grounds for appeal, whether constitutional or non-

       constitutional, including, but not limited to, the manner in

       which that sentence was determined in light of [/nited States v.

       Booker,543 U.S. 220 (200il. The defendant further

       acknowledges that this appeal waiver is binding only upon the

       def'endant and that the United States retains its right to appeal

       in this case.
                                   28
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 29 of 35




30. Coilateral Appeal Waiver. The defendant acknowledges,

   understands and agrees that, by pleading guilty pursuant to

   this Agreement, the defendant voluntarily and knowingiy

   waives the right to collaterally attack the defendant's

   conviction, sentence, or any other matter relating to this

   prosecution, including but not limited to a motion to vacate

   judgment under Title 28, United States Code, Section 22bbi a

   petition for a writ of habeas corpus under Title 28, United

   States Code, Section 2241i or any other motion or writ seeking

   collateral relief. However, no provision of this agreement shall

   preclude the defendant from pursuing in an appropriate forum

   any appeal, collateral attack, writ, or motion claiming that the

   defendant received constitutionally ineffective assistance of

   counsel. In the event the defendant raises a claim of ineffective

   assistance ofcounsel, the defendant hereby agrees (a) that the

   Government retains its right to oppose any such claim on

   procedural or substantive groundsi and (b) that counsel for the

   United States may confer with any of the defendant's prior
                               29
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 30 of 35




   counsel whose performance is attacked in such a claim, for

   purposes of preparing any response or for any hearing

   necessitated by the filing of such a claim.

31. A   al Waiver Breach. The defendant acknowledges that

   pursuing a direct appeal or any collateral attack waived in the

   preceding paragraph(s) may constitute a breach of this

   Agreement. The Government agrees that the mere filing of a

   notice of appeal is not a breach of the Agreement. The

   Government may declare a breach only after the defendant or

   the defendant's counsel thereafter states, either orally or in

   writing, a determination to proceed with an appeal or collateral

   attack raising an issue the Government deems barred by the

   walve r. The parties acknowledge that the pursuit of an appeal

   or any collateral attack constitutes a breach only if a court

   determines that the appeal or collateral attack does not present

   an issue that a judge may reasonably conclude is permitted by

   an exception to the waiver stated in the preceding paragraph(s)



                               30
    Case 1:24-cr-00096-JPW   Document 53    Filed 04/11/25   Page 31 of 35




       or constitutes a "miscarriage ofjustice" as that term is defined

       in applicable law.

L. Other Provisions
   32. Asreement Not Bindine on Other Agencies. Nothin g in this

       Agreement shall bind any other United States Attorney's Office,

       state prosecutor's office, or federal, state, or local law

       enforcement agency.

   33. No Civil Claims or Suits. The defendant agrees not to pursue or

       initiate any civil claims or suits against the United States of

       America, its agencies or employees, whether or not presently

       known to the defendant, arising out ofthe investigation,

       prosecution or cooperation, if any, covered by this Agrecment,

       including but not limited to any claims for attorney's fees and

       other litigation expenses arising out of ihe investigation and

       prosecution of this matter. By the defendant's guilty plea in

       this matter the defendant further acknowledges that the

       Government's position in this litigation was Laken in good faith,

       had a substantial basis in law and fact and was not vexatious.
                                     .11
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 32 of 35




34. PIea Asreement Serves Ends of Ju stice. The Unitcd States is

   entering this Agreement with the defendant because this

   disposition of the maLter fairly and adequately addresses the

   gravity of the offense(s) from which the charge(s) is/are drawn,

   as well as the defendant's role in such offense(s), thereby

   serving the ends ofjustice.

35. Merger of All Prior Neeotiations. This document stales the

   complete and only Agreement between the United States

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea

   offers, whether written or oral. This agreement cannot be

   modified other than in writing that is signed by all parties or on

   the record in court. No other promises or inducements havc

   been or wiII be made to the defendant in connection with this

   case, nor have any predictions or threats been made in

   connection with this plea. Pursuant to Rule 11 of the _L'ederal

   Rules of Criminal Procedure, the defendant certifies that the
                                 ao
Case 1:24-cr-00096-JPW   Document 53   Filed 04/11/25   Page 33 of 35




    defendant's plea is knowing and voluntary and is not the result

    of force or threats or promises apart from those promises set

    forth in this Agreement.

36. Defendant is Satisfied with Assistance of Cou nsel. The

    Defendant agrees that the defendant has discussed this case

    and this Agreement in detail with the defendant's attorney, who

    has advised the defendant ofthe defendant's Constitutional and

    other trial and appellate rights, the nature of the charges, the

   elements of the offenses the United States would have to prove

    at trial, the evidence the United States would present at such

   trial, possible defenses, the advisory Sentencing Guidelines and

   other aspects of sentencing, potential losses of civil rights and

   priviieges, and other potential consequences of pleading guilty

   in this case. The defendant agrees that the defendant is

   satisfied with the Iegal services and advice provided to the

   defendant by the defendant's attorney

37. Deadline for Acceptance of Plea Asreement. The original of this

   Agreement must be signed by the defendant and defense
       Case 1:24-cr-00096-JPW   Document 53     Filed 04/11/25   Page 34 of 35




          counsel and received by the United States Attorney's Office on

          or before 5:00 p.m., August 75,2024, otherwise the offer may, in

          the sole discretion of the Government, be deemed withdrawn.

      38. Required Signatures. None of the terms of this Agreement shall

          be binding on the Office of the United States Attorney for the

          Middle District of Pennsylvania until signed by the defendant

          and defense counsel and then signed by the United States

          Attorney or his designee.

                          ACKNOWLEDGMENTS

     I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to i


                                           K
I)a                                            TIITA   Ttr KING McCLEAN
                                           Defendant

       I am the defendant's counsel. I have carefully reviewed every part
of this agreement with the defendant. To my knowledge, my client's
decision to enter into this agreement is an informed and voluntary one.
 L
           {
Date                                       JES CA BUSH, I|SQUIRI'
                                           Counsel for Defendant


                                      DA
        Case 1:24-cr-00096-JPW        Document 53     Filed 04/11/25    Page 35 of 35




                                                    GERARD M. KARAM
                                                    U     tates Att.ornr: v

            /l) uLS                        B
  ate                                                                  EHlI
                                                    Assistant   nited States Attorney

WABruSAO# 2023R00486/August 1, 2024
!'ERSION DATE: March 8, 2021




                                               JA
